                                  UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

In re:                                                           Case No. 04-47191-PJS
         ULYSHA RENEE HALL

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Krispen S. Carroll, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 03/12/2004.

         2) The plan was confirmed on 06/23/2004.

        3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
07/07/2009.

        4) The trustee filed action to remedy default by the debtor in performance under the plan
on 10/03/2006, 05/05/2009, 05/05/2009.

         5) The case was completed on 09/03/2009.

         6) Number of months from filing to last payment: 66.

         7) Number of months case was pending: 69.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $16,450.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                    $119,794.50
           Less amount refunded to debtor                                    $0.00

NET RECEIPTS:                                                                                             $119,794.50



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                           $494.00
     Court Costs                                                                       $0.00
     Trustee Expenses & Compensation                                               $4,503.33
     Other                                                                             $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                              $4,997.33

Attorney fees paid and disclosed by debtor:                               $0.00



Scheduled Creditors:
Creditor                                                Claim         Claim           Claim        Principal        Int.
Name                                    Class         Scheduled      Asserted        Allowed         Paid           Paid
DETROIT MUNICIPAL CU                Secured               1,000.00      3,955.64        3,955.64       3,955.64     2,585.67
MICHIGAN FIRST CREDIT UNION         Secured              21,000.00     19,267.78       19,267.78           0.00         0.00
WELLS FARGO                         Secured                    NA           0.00            0.00      97,199.06         0.00
WELLS FARGO                         Secured               7,175.00      9,906.70        9,906.70       9,906.70         0.00
WELLS FARGO                         Secured                    NA       1,150.10        1,150.10       1,150.10         0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal           Interest
                                                                    Allowed                 Paid               Paid
 Secured Payments:
        Mortgage Ongoing                                              $0.00          $97,199.06               $0.00
        Mortgage Arrearage                                       $11,056.80          $11,056.80               $0.00
        Debt Secured by Vehicle                                  $19,267.78               $0.00               $0.00
        All Other Secured                                         $3,955.64           $3,955.64           $2,585.67
 TOTAL SECURED:                                                  $34,280.22         $112,211.50           $2,585.67

 Priority Unsecured Payments:
         Domestic Support Arrearage                                    $0.00               $0.00              $0.00
         Domestic Support Ongoing                                      $0.00               $0.00              $0.00
         All Other Priority                                            $0.00               $0.00              $0.00
 TOTAL PRIORITY:                                                       $0.00               $0.00              $0.00

 GENERAL UNSECURED PAYMENTS:                                           $0.00               $0.00              $0.00



 Disbursements:

          Expenses of Administration                                    $4,997.33
          Disbursements to Creditors                                  $114,797.17

 TOTAL DISBURSEMENTS :                                                                                $119,794.50



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 12/22/2009                                  By: /s/ Krispen S. Carroll
                                                                                 Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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